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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

Thomas Mabbott,                                  Case No. 1:15-CV-01399

       Plaintiff,
                                                         ORDER ON PLAINTIFF’S MOTION
v.                                                        FOR DEFAULT JUDGMENT

Pinnacle Asset Management, Inc., et al.

       Defendants.

       FOR GOOD CAUSE SHOWN, the Court hereby GRANTS Plaintiff’s Motion for

Default Judgment.

       It is ORDERED, ADJUDGED, and DECREED that JUDGMENT against Defendant

Pinnacle Asset Management, Inc. and Roderick Ball, joint and severally, as follows:

       -   $ 1,000.00 in statutory damages for violations of the FDCPA;

       -   $10,140.00 in reasonable attorney fees; and

       -   $ 653.00 in reasonable costs.


IT IS SO ORDERED.

                                                   ______________________________
                                                   Robert M. Dow, Jr.
                                                   United States District Judge
                                                   Northern District of Illinois
Date: 3/28/2016
